                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE

JEFFERY S. NICHOLS,                                  )
                                                     )
         Plaintiff,                                  )
                                                     )
v.                                                   )              No. 3:22-cv-01004
                                                     )
WILLIAM B. LEE, Governor of the State                )              District Judge Trauger
of Tennessee; DAVID B. RAUSCH,                       )
Director of the Tennessee Bureau of                  )              Magistrate Judge Frensley
Investigation; and FRANK STRADA,                     )
Commissioner of the Tennessee Department             )
of Correction, in their official capacities,         )
                                                     )
         Defendants.                                 )
                                                     )



            DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION TO STAY


         Defendants, William B. Lee, Governor of the State of Tennessee, David B. Rausch,

Director of the Tennessee Bureau of Investigation (TBI), and Frank Strada, Commissioner of the

Tennessee Department of Correction (TDOC), submit this response to Plaintiff’s request that the

Court stay the case pending a decision by the Sixth Circuit in Does #1-9 v. Lee, 3:21-cv-590 (M.D.

Tenn.), ECF No. 138 appeal filed No. 23-5248 (6th Cir.), except as to Plaintiff’s Community

Supervision for Life (“CSL”) claim. Because the motion accurately maintains that Claim J should

be stayed pending Does #1-9, Defendants partially support the motion. However, as set out in

Defendants’ Motion to Stay, because Plaintiff’s motion requests that the Court address Claim F

prior to administratively closing the case, Defendants partially oppose the motion.




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                                        BACKGROUND

       In June 2005, Plaintiff, Jeffery Nichols, pleaded guilty to a total of 29 sexual offenses that

he had committed between 2000 and 2002: five counts of rape of a child, 10 counts of aggravated

sexual battery, 13 counts of sexual exploitation of a minor, and one count of aggravated

kidnapping. (D.E. 20, PageID# 162, ¶ 14.) Plaintiff’s sentence included a period of incarceration,

which he completed in August 2022, and CSL. (D.E. 20, PageID# 161, ¶ 9.) After his release

from prison, Plaintiff filed this action seeking relief from his obligation to register as a violent

sexual offender against children, his sentence of community supervision, and his obligation to

participate in a GPS monitoring program for violent sexual offenders.

       In the Amended Complaint, Plaintiff raised ten claims alleging the Tennessee Sex Offender

Registry and CSL requirements were unconstitutional as applied to him. (D.E. 20.) Relevant here,

Plaintiff claimed that his sentence of CSL (Claim C) violates the Due Process Clause because the

trial court failed to notify Plaintiff of that part of his sentence before he entered a guilty plea,

(Claim D) violates the Due Process Clause because the trial court amended Plaintiff’s judgments

of conviction without his knowledge or consent, (Claim E) violates the Due Process Clause

because the Tennessee Supreme Court declined to apply one of its decisions retroactively to

Plaintiff’s case, and (Claim F) violates the Ex Post Facto Clause and Due Process Clause because

the burdens of CSL have grown more onerous. (D.E. 20, PageID# 190, ¶¶ 189-92.) Of these

relevant claims, the Court granted Defendants’ motion to dismiss Claims C, D, and E. The Court

determined that Plaintiff’s challenge to the imposition of CSL was an attempt to “render [his]

sentence invalid,” which was not a cognizable claim under 42 U.S.C. § 1983. (D.E. 40, 417-18

(quoting Heck v. Humphrey, 512 U.S. 477, 486 (1994).) Defendants did not move to dismiss

Claim F, which alleged an Ex Post Facto Clause and Due Process Clause violation and contended



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that “the CSL restrictions, requirements, and fees have continually increased after the time of

plaintiff’s offenses increasing the punishment of his sentence.” (D.E. 20, PageID# 174.) Neither

party has engaged in any discovery, but Plaintiff now moves to stay the case with the exception of

a Partial Motion for Summary Judgment that seeks summary judgment on “the addition of the

punitive sentence of Community Supervision for Life . . . and/or CSL’s increasing restrictive

provisions.” (D.E. 46, PageID# 451.)

                                      LEGAL STANDARD

       “[T]he power to stay proceedings is incidental to the power inherent in every court to

control the disposition of the causes on its docket with economy of time and effort for itself, for

counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). The party seeking

a stay of proceedings bears the burden of showing the “pressing need for delay, and that neither

the other party nor the public will suffer harm from entry of the order.” Ohio Environmental

Council v. United States District Court, S. Dist. of Ohio, 565 F.2d 393, 396 (6th Cir. 1977). Entry

of an order staying proceedings “ordinarily rests with the sound discretion of the District Court.”

F.T.C. v. E.M.A. Nationwide, Inc., 767 F.3d 611, 627 (6th Cir. 2014) (quoting Ohio Environmental

Council v. U.S. Dist. Court, 565 F.2d 393, 396 (6th Cir. 1977)). Indeed, district courts can and do

exercise their inherent power to stay proceedings when a similar case is pending on appeal and a

decision in the appeal would aid resolution of the district court litigation. See Lech v. Gettel, No.

22-cv-11197, 2022 WL 17832699, at *4-5 (E.D. Mich. Dec. 21, 2022) (staying district court

litigation where appeal involved same defendant and “all the claims present in the instant case are

presently before the Sixth Circuit”); Speight v. EquityExperts.org, LLC, No. 17-13663, 2019 WL

1492207, at *1-2 (E.D. Mich. April 4, 2019) (staying district court litigation where appeal

involving same defendant and “different, but similar” issues would “narrow the issues in [the



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district court case]” and “be helpful to the Court in resolving the parties’ dispositive motions”);

Aim Leasing Co. v. RLI Corp., No. 4:14-cv-02161, 2016 WL 3971300 (N.D. Ohio July 25, 2016)

(granting stay of district court proceedings pending resolution of state court declaratory action

which would “greatly redu[ce] the amount in controversy and increa[se] the potential for an

amicable settlement between the parties”).

       When considering whether to grant a stay, a court weighs three factors: “(1) any prejudice

to the non-moving party if a stay is granted, (2) any prejudice to the moving party if a stay is not

granted, and (3) the extent to which judicial economy and efficiency would be served by the entry

of a stay.” Does #1-3 v. Lee, No. 3:19-CV-00532, 2020 WL 4904663, at *1 (M.D. Tenn. Feb. 18,

2020) (quoting Tennessee ex rel. Cooper v. McGraw-Hill Cos., Inc., No. 3:13-00193, 2013 WL

1785512, at *6 (M.D. Tenn. Apr. 25, 2013)).

                                          ARGUMENT

       Here, all three factors—prejudice to the non-moving party, prejudice to the moving party,

and judicial economy and efficiency—weigh heavily in favor of completely staying this case, and

not permitting Plaintiff’s CSL claim to be adjudicated prior to the Sixth Circuit’s guidance. A stay

would thus be beneficial to the parties as well as the Court.

       First, a complete stay would serve the interests of judicial economy and efficiency. The

Sixth Circuit’s decision in Does #1-9 will aid the Court in ruling on the merits of Plaintiff’s CSL

claim. Plaintiff argues in his Motion to Stay that the case need not be stayed as to his CSL claim

because it is “totally separate” from his claims related to Tennessee’s Sexual and Violent Sexual

Offender Registration, Verification, and Tracking Act of 2004 (“the Act”). (D.E. 45, PageID#

444.) However, Plaintiff has moved for summary judgment on two theories: that his constitutional

rights were violated by (1) “the addition of the punitive sentence of Community Supervision for



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Life . . . and/or” (2) the restrictive provisions of the CSL that have expanded, resulting in an

increase in his punishment after the fact. (D.E. 46, PageID# 451.) The first of those theories has

already been rejected by this Court when it granted Plaintiffs’ Motion to Dismiss as to Claims C

and D because it constitutes a collateral attack on his conviction. (D.E. 40, PageID# 417-18.)

Plaintiff’s only remaining theory is whether the increase in restrictions under CSL amount to a

violation of the Ex Post Facto Clause—an issue plainly impacted by the Sixth Circuit’s

determination of how subsequent changes to a statute may constitute an ex post facto violation.

       The following matters are at issue on appeal in Does #1-9: (1) whether the district court

had jurisdiction to adjudicate the claims against Governor Lee and Director Rausch, (2) whether

the district court erred in concluding that the Act violates the Ex Post Facto Clause, and (3)

whether the district court erred in granting sweeping declaratory and injunctive relief to remedy

the plaintiffs’ injuries. See Issue Statement, Doe #1 v. Lee, No. 23-5248 (6th Cir. Apr. 11, 2023),

ECF No. 13 (emphasis added). The Sixth Circuit’s ruling whether the Act violates the Ex Post

Facto Clause will directly address the sort of proof that is required to show an ex post facto

violation through subsequent changes.

       That guidance is particularly relevant when the requirements of CSL and the Act are

similar. As alleged by Plaintiff in his Amended Complaint, the Act contains various “[r]esidence

[r]estrictions,” “[e]mployment [r]estrictions,” “[p]resence [r]estrictions,” and various “[o]ther

[r]estrictions” that require things like travel notifications, a particular identification card, and

lifetime registration. (D.E. 20, PageID# 164-67.) CSL, as alleged by Plaintiff, contains

“[r]esidence [r]estrictions,” “[e]mployment [r]estrictions,” various “[o]ther restriction[s]” that

require things like travel notifications, a particular identification card, fees, and “[a]dditional

[r]estrictions” while an individual is in sex offender treatment. (Id. at 175-79.)



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        The Sixth Circuit’s ruling will also be instructive on the type of discovery necessary for

this litigation. The nature and scope of the parties’ respective evidentiary burdens when bringing

or defending against a facial or as-applied ex post facto challenge was a key issue in the Does #1-

9 litigation. See Does #1-9 v. Lee, No. 3:21-CV-00590, 2023 WL 2335639, at *16-17 (M.D. Tenn.

Mar. 2, 2023). For instance, Defendants will gain clarity on whether to seek discovery on the sum

total change in CSL requirements that have occurred or whether they should seek discovery on

every individual change that occurred over Plaintiff’s time on CSL.

        Second, if a stay is not granted, Defendants may suffer considerable prejudice. If the

Defendants prevail in the Sixth Circuit appeal, the decision will benefit their defense against the

ex post facto claim in this litigation. Alternatively, if the Sixth Circuit agrees with the district court

in Does #1-9, it could impact the Defendants’ decision to even continue this litigation.

Additionally, Defendants have not sought to waste resources for both Plaintiff and themselves

sending written discovery and conducting depositions when all of that work may need to be redone

in the light of Does #1-9. Particularly when Plaintiff’s remaining claim is nearly identical to the

one on appeal, it would have been unnecessarily burdensome, for instance, to depose Plaintiff only

on the restrictions stemming from CSL and not the Act. And as described above, even as to the

CSL claims, Defendants would have sought discovery that may change depending on the outcome

of Does #1-9.

        Third, any risk of prejudice to Plaintiff by staying the case is far lower than the risk of

prejudice to Defendants and waste of party and judicial resources that will result from not staying

the case. By implementing the complete stay, the costs and time associated with litigation would

decrease significantly for all parties. And granting a stay would not merely defer expenses; any

guidance provided by the Sixth Circuit’s pending decision in Does #1-9 would likely decrease the



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costs of litigation going forward. And of course, the passage of time would not impact Plaintiff’s

claims, given that Plaintiff’s claims substantially depend on legal questions that are not likely to

generate the type of eyewitness or first-hand evidence that may grow stale.

       Nor would the public suffer harm from entry of a stay. Ohio Envtl. Council, 565 F.2d at

396. In fact, the public would enjoy the benefit of judicial economy. See Astec Am., Inc. v. Power-

One, Inc., No. 6:07-CV-464, 2008 WL 11441994, at *3 (E.D. Tex. July 15, 2008) (“Controlling

litigation expenses and conservation of judicial resources serves not only the parties and the Court,

but also the public as a whole.”). Further, the stay sought by Defendants has reasonable limits.

See Ohio Envtl. Council, 565 F.2d at 396. Should the Court find it beneficial, Defendants can

provide updates to the Court every 90 days, or as the Court directs, for the purpose of informing

the Court and Plaintiff of the status of the Does #1-9 appeal. And, within 30 days of the Sixth

Circuit’s mandate in Does #1-9, Defendants will file an update with the Court informing it of the

impact the Sixth Circuit’s decision will have on this stayed case.

                                         CONCLUSION

       Because Does #1-9 will drastically impact the discovery the parties will need to make and

the analysis the Court performs evaluating the claim, the Court should grant Plaintiff’s motion to

stay the case, but deny his specific request to have the Court rule on his pending Motion for

Summary Judgment.


                                                      Respectfully submitted,


                                                      JONATHAN SKRMETTI
                                                      Attorney General and Reporter


                                                      /s/ David Wickenheiser
                                                      DAVID WICKENHEISER (040427)

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                                                       DAVEY DOUGLAS (032076)
                                                       Assistant Attorney General
                                                       Law Enforcement and Special
                                                       Prosecutions Division
                                                       Office of the Tennessee
                                                       Attorney General and Reporter
                                                       P.O. Box 20207
                                                       Nashville, Tennessee 37202-0207
                                                       (615) 532-7277
                                                       David.Wickenheiser@ag.tn.gov


                                 CERTIFICATE OF SERVICE
        I hereby certify that a true and correct copy of the foregoing has been filed using the Court’s
electronic filing system and served by Federal Express to:

Jeffery S. Nichols
985 Murfreesboro Pike, Unit B24
Nashville, TN 37217


On this the 10th day of April, 2024.

                                                       /s/ David Wickenheiser
                                                       DAVID WICKENHEISER




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